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                                                                                             3/14/2022

                                         THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX              LAW DEPARTMENT                                             MICHAEL VIVIANO
Corporation Counsel                            100 CHURCH STREET                            Assistant Corporation Counsel
                                               NEW YORK, NY 10007                                  Phone: (212) 356-2368
                                                                                                   mviviano@law.nyc.gov



                                                                           March 10, 2022
                                             Application Denied. The initial conference will proceed as
       VIA ECF                               scheduled and the parties shall meet and confer pursuant to Fed.
       Honorable Alison J. Nathan            R. Civ. P. 26(f) before the initial conference.
       United States District Judge
       Southern District of New York
       40 Foley Square
       New York, NY 10007                                                                     3/14/2022

                       Re: Marie DeLuca, Adam Shoop, and David Farrow v. City of New York, et
                           al., 21 CV 10777 (AJN) (KHP)

       Your Honor:

                        I am an Assistant Corporation Counsel in the office of Hon. Sylvia O. Hinds-
       Radix, Corporation Counsel of the City of New York, representing the Defendants in the above-
       referenced matter. Defendants write to request an adjournment of the initial conference currently
       scheduled for March 30, 2022 at 11:30 a.m., until a date to be determined, following the
       conclusion of the parties’ participation in Local Civil Rule 83.10 (formerly known as, and herein
       referred to as, the “Plan”).

               Per docket entry dated December 17, 2021 the above-referenced case was designated for
       participation in the Plan. The Plan is a comprehensive case management plan that automatically
       governs the pretrial phase of cases brought pursuant to § 1983 – such as the case at bar -- in this
       District pursuant to Local Civil Rule 83.10. One purpose of the Plan is to increase efficiencies in
       certain categories of Section 1983 cases by mandating early disclosures of categories of
       documents and directing the parties to early mediation. Indeed, the Plan was designed to help
       efficiently manage and reduce the time of the disposition in the typical Section 1983 cases
       brought against the NYPD and its officers. See Elliot v. City of N.Y., 2020 U.S. Dist. LEXIS
       216028 (S.D.N.Y. Nov. 18, 2020) (explaining the history and purpose of adopting Local Civil
       Rule 83.10).

              Based on the foregoing, the Defendants respectfully request that the initial conference be
       adjourned until a date after the parties’ mediation, following their participation in the Plan,
       provided that the parties do not resolve this matter in its entirety via mediation. Upon
       information and belief, this adjournment will not affect any other scheduled dates in this
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litigation. This request is made without the plaintiff’s consent, who intends to put in a letter
setting forth their own position.

       Thank you for your time and consideration.

                                                    Respectfully submitted,

                                                    Michael Viviano /s/

                                                    Michael Viviano
                                                    Assistant Corporation Counsel

CC:    Gideon Oliver, Esq. (BY ECF)




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